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Rosen & Kantrow, PLLC
Proposed Attorneys for Richard L. Stern, Trustee
38 New Street
Huntington, New York 11743
631 423 8527
Fred S. Kantrow
Nico G. Pizzo
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re:
                                                                    Case No.: 19-75003-las
          JOSE BARRETO and                                          Chapter 7
          MARIA BARRETO,
                                             Debtors.
----------------------------------------------------------x
            APPLICATION OF THE TRUSTEE FOR AUTHORITY TO EMPLOY
             MALTZ AUCTIONS, INC. AS AUCTIONEER TO ASSIST TRUSTEE
                WITH THE LIQUIDATION OF DEBTORS’ REAL PROPERTY

          RICHARD L. STERN, the chapter 7 trustee (the “Trustee”) of Jose Barreto and Maria

Barreto, debtors (“Debtors”), by and through his proposed attorneys, Rosen & Kantrow, PLLC,

hereby seeks the entry of an Order authorizing the Trustee to retain Maltz Auctions, Inc.

(“Maltz”), as auctioneer, under 11 U.S.C. §327(a) and Rule 2014 of the Federal Rules of

Bankruptcy Procedure, to conduct a public auction sale(s) of the Debtors’ interest in the real

property commonly known as 1377 Ingelside Avenue, Jacksonville, Florida (the “Real

Property”), respectfully sets forth the following:

                                                   Background

          1.       This case was commenced as a voluntary chapter 7 case filed pursuant to Chapter

7 of title 11 of the United States Code (the “Bankruptcy Code”), on July 15, 2019 (the “Petition

Date”).

          2.       Richard L. Stern (the “Trustee”) was appointed interim Chapter 7 Trustee and

thereafter did duly qualify as the permanent and serving case Trustee.
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       3.      Prior to the Petition Date and continuing at this time, the Debtors are the owners

of the Real Property. The Debtors valued the Real Property at approximately $290,000. Upon

information and belief, and based upon a review of the Debtors; schedules and a payoff

statement, the Real Property is subject to a mortgage in the approximate amount of $163,000.

The Debtors do not reside in the Real Property; and there is no homestead available to the

Debtors. Thus, it appears that there is substantial equity available to creditors if the Trustee is

successful in marketing and selling the Real Property.

       4.      For these reasons, the Trustee seeks to retain Maltz to assist with the marketing

and selling of the Real Property for the benefit of the estate.

                                  TRUSTEE’S APPLICATION

       5.      The Trustee believes that the retention of an auctioneer would be in the best

interest of the estate in order to sell the Debtors’ Real Property rapidly and efficiently. The

Trustee believes that the retention of Maltz as auctioneer in this case would be beneficial to the

estate to assist the Trustee in obtaining the highest and best offer(s) for the Real Property. Maltz

has extensive experience and expertise in selling real property at public sale.

       6.      To the best of the Trustee’s knowledge, information and belief, Maltz has no

connection with the Debtors’ creditors or with any other party in interest herein, their attorneys

or accountants. Maltz represents that it has no adverse interest to the estate and will provide

valuable services for the Trustee in connection with the sale of the Real Property. Annexed

hereto is the Affidavit of No Adverse Interest of Maltz.

       7.      Maltz shall be seek commissions consistent with the Local Bankruptcy Rule

6005-1(b)(1) and reimbursement of expenses in accordance with the standards established under

Local Bankruptcy Rules of the Court. The commissions shall be paid only after the filing of an
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application with the Court, which application shall be on notice to the creditors and the Office of

the United States Trustee, provided that the Court enters an Order authorizing such payment.

          8.     For all of the foregoing reasons, the Trustee believes that the retention of Maltz is

in the best interest of the estate and its creditors and should be approved by the Court.

          WHEREFORE, the Trustee requests that this Court enter an order authorizing the

Trustee to employ Maltz as the auctioneer to the estate upon the terms and conditions set forth

herein.

Dated: Huntington, New York
       August 26, 2019

                                                        Rosen & Kantrow, PLLC
                                                        Proposed Counsel to the Trustee

                                                BY:     S/Fred S. Kantrow
                                                        Fred S. Kantrow
                                                        38 New Street
                                                        Huntington, New York 11743
                                                        631 423 8527
                                                        fkantrow@rkdlawfirm.com
